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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                      8:17CR224

       vs.
                                                                         ORDER
MYLON MAYFIELD and ROBERT COKES,

                      Defendants.


       This matter is before the Court on the magistrate judge’s 1 Order and Findings and
Recommendation (Filing No. 54), denying defendant Robert Cokes’s Motion to Sever (Filing
No. 40) as moot because his named codefendant pled guilty and recommending the Court deny
his Motion to Dismiss (Filing No. 42) without prejudice because a definitive ruling on the
constitutional issue Cokes raises would be premature at this stage. Neither party has objected to
the magistrate judge’s Order and Findings and Recommendation within the time permitted. See
28 U.S.C. § 636(b)(1) (requiring de novo review of “those portions of the report or specified
proposed findings or recommendations to which objection is made”); Fed. R. Crim. P. 59 (a),
(b)(2) (stating that failing to timely object waives the right to review of both nondispositive and
dispositive matters); NECrimR 59.2(a), (e). In light of the foregoing,

       IT IS ORDERED:
       1.      The magistrate judge’s findings and recommendation (Filing No. 54) are accepted
               in their entirety.
       2.      Defendant Robert Cokes’s Motion to Dismiss (Filing No. 42) is denied without
               prejudice to reassertion at trial.


       Dated this 27th day of September, 2017.

                                                     BY THE COURT:

                                                     s/ Robert F. Rossiter, Jr.
                                                     United States District Judge




       1
       The Honorable Michael D. Nelson, United States Magistrate Judge for the District of
Nebraska.
